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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

COLUMBUS LIFE INSURANCE                 *
COMPANY,                                *
                                        *      No. 1:20-cv-00735-MN-JLH
                Plaintiff,              *      No. 1:20-cv-00736-MN-JLH
                                        *
        v.                              *      PUBLIC VERSION OF D.I. 168
                                        *      FILED JUNE 30, 2022
WILMINGTON TRUST, N.A., as              *
Securities Intermediary,                *
                                        *
                Defendant.              *
___________________________________ *
                                        *
WILMINGTON TRUST, N.A., as              *
Securities Intermediary,                *
                                        *
                Counterclaim-Plaintiff, *
                                        *
        v.                              *
                                        *
COLUMBUS LIFE INSURANCE                 *
COMPANY,                                *
                                        *
                Counterclaim-Defendant. *
                                        *

       WILMINGTON TRUST, N.A., AS SECURITIES INTERMEDIARY’S
  CONSOLIDATED REPLY BRIEF IN FURTHER SUPPORT OF ITS MOTION FOR
                      SUMMARY JUDGMENT

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I.     INTRODUCTION

       Columbus Life Insurance Company (“Columbus”) is a sophisticated, $5 billion insurer that

knew the key facts concerning the alleged illegality of the Policies in 2004, began publishing

memos about STOLI in 2005, conducted an insurable interest investigation into the Policies in

2005, started flagging the Policies on STOLI lists at some point between 2006 and 2010, and

waited to bring these lawsuits until 2020. The question here is simple: Can Columbus, on these

undisputed facts, walk away from its obligation to pay $10 million in death benefits on the Policies

and keep the $10.3 million in premiums on the very same Policies? The answer is “no.”

       Columbus is not entitled to a Court-approved, eight-figure windfall.           And none of

Columbus’ desperate attempts to avoid that commonsense reality has any merit whatsoever. The

Court should reject Columbus’ efforts at misstating the law, ignoring the undisputed facts

concerning Columbus’ course of conduct, falsely asserting that Viva Capital Trust (“Viva”)

                                                , or conjuring baseless conspiracy theories about

Viva’s and its counsel’s motives and litigation strategy. The Delaware Supreme Court made clear

in Price Dawe that “[a] court may never enforce agreements void ab initio, no matter what the

intentions of the parties,” PHL Variable Ins. Co. v. Price Dawe 2006 Ins. Tr., 28 A.3d 1059, 1067

(Del. 2011), and yet Columbus is trying to do exactly that by asking this Court to enforce one side

of contracts that Columbus believes are void ab initio.1


1
  Wilmington Trust, N.A., as Securities Intermediary (“Securities Intermediary”)—which has
acted, and continues to act, solely in its capacity as a securities intermediary pursuant to the UCC,
see U.C.C.§ 8-102(a)(14)—has already submitted two briefs explaining why Columbus cannot
keep the $10.3 million in premiums on the Policies and be relieved of its obligation to pay the $10
million in benefits under the Policies. In those briefs, Securities Intermediary has responded to
many of the arguments in Columbus’ opposition, including, for example, why—as a matter of
public policy—Columbus cannot keep the premiums. Securities Intermediary will focus its reply
on those arguments advanced by Columbus that Securities Intermediary has not addressed
elsewhere.

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II.    ARGUMENT

       A.      Estate of Malkin Does Not Address Whether a Carrier Can Void a Policy and
               Keep the Premiums, as Columbus Seeks to Do Here.

       The Delaware Supreme Court’s decision in Wells Fargo Bank, N.A. v. Estate of Malkin, --

A.3d --, 2022 WL 1671966 (Del. May 26, 2022), does not, as Columbus claims, stand for the

proposition that “a downstream investor like Viva cannot prove an entitlement to restitution under

a STOLI policy unless the investor undertook appropriate diligence and bought the policy in

question without knowing it had insurable interest problems.” (CL Opp. at 24–25.)2 There are

three reasons why.

       First, the Delaware Supreme Court made clear that the premium claim in Estate of Malkin

(an estate case) is different than the premium claim here (a carrier case). In Estate of Malkin, the

Court answered two certified questions from the Eleventh Circuit, one of which was: “If an

insurance contract is void … can the party that is being sued under § 2704(b) recover premiums it

paid on the void contract?” Id. at *1. Section 2704(b) is the Delaware statute that “allows the

estate of a deceased STOLI insured to ‘maintain an action to recover’ the death benefit from its

recipient.” Id. at *1; see also 18 Del. C. § 2704(b). It was in that context that the Court held that

a Section 2704(b) defendant can recover premiums from an estate if it “can prove its entitlement

to those premiums under a viable legal theory.” Estate of Malkin, 2022 WL 1671966, at *1.

       These cases are not Section 2704(b) cases; they are lawsuits filed by an insurer seeking to

avoid its obligation to pay the Policies’ death benefits and keep the Policies’ premiums. Estate of

Malkin made clear that different considerations are present in carrier cases than estate cases, when

explaining “[s]everal courts have addressed whether a policyholder may recover the premiums it


2
 “CL Opp.” refers to Columbus’ Brief in Opposition to Wilmington Trust’s Motion for Summary
Judgment, dated May 31, 2022. (See Cohen Dkt. 160; Romano Dkt. 156.)

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paid when the insurer raises an insurable-interest challenge to a life insurance policy. But few, if

any, decisions have addressed whether a downstream purchaser of a policy may recover, in a case

brought by an estate under Section 2704(b), premiums it paid to maintain the policy.” Id. at *12.

       Perhaps trying not to tip its hand on how it will decide the return-of-premiums question in

the carrier context, the Court cited De Bourbon/Frankel (an automatic return case), Snyder

(another automatic return case), and Seck (the outlier case where the insured never existed and

where a court applying Delaware law, for the very first time, invoked the Restatement (Second) of

Contracts). See id. at *12 n.63 (citing Sun Life Assur. Co. of Canada v. Wilmington Tr., N.A., 2022

WL 179008, at *12–14 (Del. Super. Ct. Jan. 12, 2022) (“De Bourbon/Frankel”), Brighthouse Life

Ins. Co. v. Geronta Funding, 2021 WL 4080672, at *19 (Del. Super. Ct. Aug. 20, 2021) (appeal

pending) (“Seck IV”), and Lincoln Nat’l. Life Ins. Co. v. Snyder, 722 F.Supp.2d 546, 564-65 (D.

Del. 2010)). The Court also cited this Court’s recognition that the “Delaware Supreme Court has

yet to tell us whether and under what circumstances restitution can be recovered from an insurer

when a policy is found to be an illegal STOLI policy,” but that “federal courts applying Delaware

law have consistently permitted requests for the return of premium payments[.]” Id. (quoting

Columbus Life Ins. Co. v. Wilmington Tr., N.A., 2021 WL 1820573, at *8–9 (D. Del. May 6, 2021),

adopted by 2021 WL 3886370 (D. Del. Aug. 31, 2021)).

       Estate of Malkin does not shed light on whether—in a carrier case (such as the cases before

this Court)—the Delaware Supreme Court will (1) agree with the majority of courts that have

required carriers to automatically return premiums on void policies (see SI Br. at 28–29; SI Opp.

at 13–14),3 (2) endorse Judge Streett’s outlier decision in Seck (see SI Br. at 31, 33; SI Opp. at 19),



3
 “SI Br.” refers to Securities Intermediary’s Consolidated Opening Brief in Support of Its Motion
for Summary Judgment. (See Cohen, Dkt. 141; Romano, Dkt. 143.) “SI Opp.” refers to Securities


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or (3) create another test entirely. Notably, the remedy for return of premiums on a void ab initio

policy in a case brought by a carrier seeking to avoid paying a death benefit while trying to keep

all the premiums is before the Delaware Supreme Court in Seck and De Bourbon/Frankel. See

Geronta Funding v. Brighthouse Life Ins. Co., No. 380, 2021 (Del.) (“Seck”); Sun Life Assur. Co.

of Can. v. Wilmington Tr., N.A., No. 126, 2022 (Del.) (“De Bourbon/Frankel”).4

       Second, to the extent Estate of Malkin is applicable here (it is not), the Court’s holding

leaves the door wide open for a policy owner to seek an automatic premium return. The Court

held “the party that is being sued under Section 2704(b) may recover the premiums it paid on the

void contract if it can prove its entitlement to those premiums under a viable legal theory.” Estate

of Malkin, 2022 WL 1671966, at *12 (emphasis added). In doing so, the Delaware Supreme Court

made no effort to list all the legal theories that are “viable” in seeking a return of premiums,

choosing instead to cite both Seck and automatic return of premium cases. The Court then

explained “[i]n the context of this case, [the policy owner] asserted a counterclaim for unjust

enrichment, seeking to recover the premiums it paid as a restitutionary offset to the Estate’s

recovery under Section 2704(b).” Id. (emphasis added). Not surprisingly given the way the parties

had framed the pleadings, the Court went on to analyze unjust enrichment as one such viable legal

theory. Contrary to Columbus’ unsupported argument, the Estate of Malkin Court therefore did

not hold that unjust enrichment is the only theory under which a policy owner can recover

premiums on a void policy; it recognized that unjust enrichment was one potential option, because

that it is what the policy owner had pleaded.


Intermediary’s Consolidated Brief in Opposition to Columbus’ Motion for Summary Judgment,
dated May 31, 2022. (See Cohen, Dkt. 157; Romano, Dkt. 161.)
4
 In Seck, the appeal is fully briefed and the Court heard oral argument on June 8, 2022. In De
Bourbon/Frankel, the final appeal brief is due on August 11, 2022. Thus, the case will be fully
briefed this summer, argued in the fall, and decided before year-end.

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       The automatic premium refund rule is based on a different well-established theory—

rescission. See, e.g., Principal Life Ins. Co. v. Lawrence Rucker 2007 Ins. Tr., 774 F. Supp. 2d

674, 680–82 (D. Del. 2011); Snyder, 722 F. Supp. 2d at 564–65; Sun Life Assur. Co. of Can. v.

Berck, 719 F. Supp. 2d 410, 418–19 (D. Del.2010). Under Delaware law, rescission “results in

abrogation or ‘unmaking’ of an agreement, and attempts to return the parties to the status quo.”

Norton v. Poplos, 443 A.2d 1, 4 (Del. 1982); see also, e.g., Restatement (Third) of Restitution and

Unjust Enrichment § 54 (2011), cmt. a & Reporter’s Note a (“Rescission … permits the claimant

to reverse a contractual exchange and recover a performance thereunder, without regard to whether

the underlying contract would be classified as ‘void’ from its inception or merely ‘subject to

avoidance.’”). Nothing in Estate of Malkin suggests that a policy owner cannot rely on rescission

principles to recover premiums from a carrier on a void policy—as courts applying Delaware law

have been doing for the last 12 years.

       Third, even if Estate of Malkin had held that policy owners must prove unjust enrichment

to recover premiums in a carrier case (it did no such thing), Columbus is still wrong when it argues

that Viva cannot recover premiums unless it “undertook appropriate diligence and bought the

policy in question without knowing it had insurable interest problems.” (CL Opp. at 24–25.) As

has become Columbus’ practice in these cases, Columbus ignores how its own conduct with

respect to the Policies factors into the restitution analysis that Columbus wrongly argues Estate of

Malkin already endorsed for carrier cases.

       In Estate of Malkin, the Court provided guidance, in dicta, on what the fact finder would

have to consider in determining whether the policy owner could recover premiums from the estate

as restitution damages on its unjust enrichment claim. See Estate of Malkin, 2022 WL 1671966,

at *12–13. The Court noted that unjust enrichment is “the unjust retention of a benefit to the loss



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of another, or the retention of money or property of another against the fundamental principles of

justice or equity and good conscience.” Id. at *12 (quoting Nemec v. Shrader, 991 A.2d 1120,

1130 (Del. 2010)). The Court pointed out that the fact finder would therefore have to decide

“whether [the policy owner] was reasonably unaware that the Policy was a STOLI arrangement

and, thus, whether an award of restitution would be consistent with ‘the fundamental principles of

justice or equity and good conscience.’” Estate of Malkin, 2022 WL 1671966, at *13.

       But in deciding “whether an award of restitution would be consistent with ‘the fundamental

principles of justice or equity and good conscience’” in a carrier case (as opposed to an estate

case), courts would not only have to consider what the policy owner knew; courts would also have

to consider what the insurer knew. That is the essence of Judge Stark’s decision in Sol III—a

decision concerning unjust enrichment and restitution principles that Columbus cannot

meaningfully distinguish.5 Judge Stark found that the policy owner “knew or should have known

at the time it purchased the Sol Policy there was a substantial risk the Policy was an illegal STOLI

policy.” Sun Life Assur. Co. of Can. v. U.S. Bank Nat’l Ass’n, 2019 WL 8353393, at *4 (D. Del.

Dec. 30, 2019) (“Sol III”). Notwithstanding that, the policy owner was still entitled to a full

premium refund—i.e., all premiums the carrier had collected (as opposed to only those premiums

the policy owner had paid)—as restitution because, in light of what the carrier knew and did, Judge

Stark held that the carrier would be unjustly enriched if it could keep any of the premiums it

received on the Sol policy. See id. at *4 & n.6.

       Judge Stark’s decision to order the carrier to return all the premiums to a sophisticated


5
  Columbus’ only response to Sol III is that Judge Stark considered premium restitution in the
context of an opinion on promissory estoppel damages. (CL Opp. at 39.) That is beside the point.
Columbus does not dispute that Judge Stark ordered the carrier to refund all the premiums pursuant
to a restitution analysis and held that letting the carrier keep the premiums would be unjust
enrichment. See Sol III, 2019 WL 8353393, at *4.

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policy owner who he found knew or should have known that the Sol policy had substantial STOLI

risk underscores the central problem in Columbus’ argument that the Court should let Columbus

keep any of the premiums it received on these Policies. Regardless of what test applies and what

Viva knew before it bought the Policies, the question is whether Columbus is entitled to a multi-

million dollar windfall by allowing it to keep the $10.3 million in premiums on the Policies if it

does not have to pay the $10 million in death benefits. Delaware law does not permit that result.

See, e.g., De Bourbon/Frankel, 2022 WL 179008, at *13 (granting summary judgment in favor of

policy owner and against carrier on return of premiums and holding “[a]s a matter of public policy,

it would not be fair for Sun Life to retain all premiums, while never having to pay death benefits

as agreed in exchange for receiving premiums”).

         B.      Columbus’ Arguments Concerning Its Nearly Two-Decade Long Course of
                 Conduct With Respect to the Policies Ignore the Undisputed Facts.

         Columbus tries to portray itself as a victim, arguing it “was lied to about the KDI Program,”

“took actions, consistent with the rest of the industry, to combat STOLI,” and “challenged the

Policies at issue shortly after it learned that doing so was possible.” (CL Opp. at 30–31; see also

id. 4–23.) But as Columbus notes, “facts are stubborn things” (id. at 30), and the undisputed facts

concerning Columbus’ course of dealing demonstrate why Columbus cannot keep the Policies’

premiums if it does not have to pay the Policies’ death benefits.

                 1.     Columbus Knew the KDI/Concordia Program Was a Non-Recourse
                        Premium Finance Program No Later than September 2004.

         Columbus filed these cases in May 2020 alleging that the Policies were void because the

insureds used non-recourse loans to pay premiums6—nearly 16 years after Columbus learned




6
    (See, e.g., Cohen Complaint, Dkt. 1 at ¶ 21; Romano Complaint, Dkt. 1 at ¶ 21.)


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that very fact. Columbus concedes that, in September 2004, it reviewed copies of sample

Participation and Trust Agreements that insureds had to sign to participate in the KDI/Concordia

Program. (Ex. 3 at 114:18–157:11.)7 The sample Participation Agreement stated that “under no

circumstances” would the insureds “be personally liable for the payment of any indebtedness or

expenses of the Trust” (e.g., premium finance loans). (Ex. 13 at 004001 (¶ 12) (emphasis added).)

The sample Trust Agreement similarly provided that the trust’s owners “shall not be liable for

any liabilities and obligations of the Trust” (e.g., premium finance loans). (Ex. 13 at 004017 (¶

2.6) (emphasis added).) In light of those provisions, Columbus’ claim that “Columbus Life did

not know that the Policies were created through non-recourse premium financing” (CL Opp. at 4)

flies in the face of the undisputed facts and lacks any credibility.

       Faced with the undisputed fact that Columbus reviewed documents in September 2004,

which stated unmistakably that the insureds would not be liable for the trusts’ indebtedness or

expenses (including premium finance loans), Columbus offers four primary rebuttals, none of

which has any merit.

       First, Columbus argues that its Rule 30(b)(6) witness (Lisa Fangman) testified that Ed

Leisher—one of the KDI/Concordia Program’s brokers—told Columbus in a late 2003/early 2004

meeting that the KDI/Concordia Program involved recourse (rather than non-recourse) loans. (CL

Opp. at 5, 31.) Of course, that is hearsay. See Fed. R. Evid. 801(c), 802.8 Putting aside the obvious

hearsay problem, that far-fetched testimony conflicts with (1) the sample Participation and Trust


7
  Numbered exhibits refer to the exhibits filed by Securities Intermediary and lettered exhibits refer
to the exhibits filed by Columbus.
8
  Columbus took Ed Leisher’s deposition before Ms. Fangman testified regarding Mr. Leisher’s
alleged statement during this late 2003/early 2004 meeting. Columbus did not ask Mr. Leisher
whether he told Columbus that the loans were recourse rather than non-recourse during that
meeting. Instead, Columbus elected to rely on Ms. Fangman’s testimony to prove the truth of
something Mr. Leisher allegedly said.

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Agreements that Columbus reviewed in September 2004 (see Ex. 13 at 004001 (¶ 12), 004017 (¶

2.6)), and (2) the testimony from Amy Holmwood—another KDI/Concordia Program broker—

who testified she was present for this late 2003/early 2004 meeting with Columbus, and that

KDI/Concordia Program’s representatives told Columbus that the KDI/Concordia Program

involved non-recourse premium financing. (Ex. 4 at 27:12–30:3, 95:5–98:3.)

       Second, conceding the Participation and Trust Agreements unambiguously stated that “the

insureds and the trustees would not be liable for any of the trusts’ obligations,” Columbus counters

“[t]hese agreements are not loan agreements” and “[t]here is simply not enough information in

these provisions to determine either way whether the loan was recourse or non-recourse.” (CL

Opp. at 7.) Columbus’ argument is meritless. The Participation and Trust Agreements expressly

state that insureds would not be “personally liable for the payment of any indebtedness or expenses

of the Trust.” (Ex. 13 at 004001 (¶ 12) (emphasis added); see also id. 004017 (¶ 2.6).) Columbus

did not need to review the actual loan agreements between the insureds’ trusts and the premium

finance lender to know that the loans were non-recourse to insureds.9

       Third, Columbus claims that the KDI/Concordia PowerPoint presentation led Columbus

to believe that the insureds used recourse loans to pay premiums. (CL Opp. at 5, 31.) But

Columbus neglects to mention that Columbus’ senior executives received this KDI/Concordia

Program PowerPoint on the very same date (September 22, 2004) that it received the sample

Participation and Trust Agreements—both of which made clear that the insureds would not be



9
  Columbus argues “as Amy Holmwood acknowledged, the term ‘nonrecourse’ does not appear in
§§ 6 or 12 of the Participation Agreement.” (CL Opp. at 6 n.6.) Columbus ignores what Ms.
Holmwood actually said about Paragraph 12: “My understanding is this is explaining that there
will be no personal liability on behalf of the indebtedness of the trust that would cause this to be
recourse[] to the trust and to the individual, to the owner. This is the nonrecourse statement
explained in a sentence.” (Ex. 4 at 150:22–151:5 (emphasis added).)

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personally liable for the trusts’ debts (i.e., that this was a non-recourse premium finance program).

(Ex. 11; Ex. 13.) It strains credibility for Columbus to assert in the face of these undisputed facts

that Columbus believed the PowerPoint presentation was referring to recourse loans—indeed, the

word “recourse” is not used anywhere in the PowerPoint—when Columbus received documents

the same day making clear that the insureds would not be personally liable for any of the trusts

indebtedness (including premium finance loans).

       Fourth, implicitly conceding it knew the KDI/Concordia Program involved non-recourse

loans no later than September 2004, Columbus contends “although non-recourse premium

financing has since become suspect, very little was known about it in 2003-04,” and “under

Delaware law, not all non-recourse premium financing results in a finding of STOLI.” (CL Opp.

at 7; see also id. at 4 n.5, 31.) That argument fares no better. Whether Columbus would have won

or lost a STOLI litigation if it had sought to invalidate the Policies in the 2004–05 time period—

or at any other point during the last two decades—is irrelevant. Columbus began publishing

memos in May 2005 expressing its corporate opinion that non-recourse premium financed policies

were tantamount to STOLI policies. (Ex. 32 at 000002 (“[W]e wish to make clear our position in

not accepting applications taken as a part of a non-recourse premium financing program which

may violate insurable interest … laws.”).) If Columbus wanted to void the Policies based on the

fact that insureds in the KDI/Concordia Program used non-recourse loans to pay premiums, then

Columbus should have brought these cases 15 years ago.

               2.      Columbus Conducted an Insurable Interest Investigation Into the
                       KDI/Concordia Program in September 2005.

       Columbus does not dispute that Columbus conducted an insurable interest investigation

into the KDI/Concordia Program in 2005. Although Columbus mentions briefly that it took steps

to rescind certain KDI/Concordia policies in the fall of 2005 for misrepresentations relating to


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and/or courts scrutinize the policy’s issuance to determine whether a policy has an insurable

interest. See, e.g., Sun Life Assur. Co. of Can. v. Wells Fargo Bank, N.A., 208 A.3d 839 (N.J.

2019); PHL Variable Ins. Co. v. Price Dawe 2006 Ins. Tr., 28 A.3d 1059 (Del. 2011). In many

other states, courts apply the plain meaning of their statutes in a way that does not benefit carriers

seeking to evade their contractual obligations. See, e.g., Wells Fargo Bank, N.A. v. Pruco Life Ins.

Co., 200 So. 3d 1202 (Fla. 2016); Kramer v. Phoenix Life Ins. Co., 940 N.E.2d 535 (N.Y. 2010).

       Columbus’ argument that it has paid 97% of claims on policies appearing on its STOLI

lists is therefore meaningless. Columbus has not presented statistics showing, for example, the

extent to which it has paid claims on Delaware and New Jersey policies that appear on its STOLI

lists, including the percentage of claims paid on Delaware and New Jersey policies since Columbus

began filing STOLI lawsuits at the end of 2019.

       Second, in January 2012, Columbus’ then-president J.J. Miller requested a STOLI report

with a search criteria designed to target STOLI policies more precisely. (Ex. 55 at 004501; Ex. 42

at 233:3–7, 235:19–22.) Mr. Miller’s chosen methodology for identifying STOLI policies—i.e.,

policies issued between 2003–2006, with face amounts of $5 million or greater, issued on insureds

older than 70—resulted in 69 potential STOLI policies across Columbus’ entire book of business.

(Ex. 55 at 004501–4502.) So while Columbus boasts it has received death claims for 279 policies

on its STOLI lists and only challenged 19 policies, Columbus does not address the relationship

between those 19 lawsuits and the 69 policies included within Mr. Miller’s STOLI report.

       Third, regardless of how many claims Columbus has paid on policies appearing on its

STOLI lists, there is no dispute that Columbus never told Securities Intermediary—or any of the

Policies’ predecessor owners—that Columbus put these very Policies on its STOLI lists. Instead,

Columbus argues it did not have a duty to disclose that it was treating the Policies internally as



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STOLI while accepting millions of dollars in premiums. (CL Opp. at 33.) In support of that

argument, Columbus cites the De Bourbon/Frankel court’s ruling that—for purposes of a

Massachusetts statutory claim for unfair or deceptive trade practices— “[t]here is no authority that

imposes a duty on [the insurer] to inform policy owners that policies had been ‘flagged’ as

STOLI.” De Bourbon/Frankel, 2022 WL 179008, at *12.

       But the issue currently before this Court is not whether there was a disclosure duty under

Massachusetts law; 11 it is whether Columbus’ failure to inform Securities Intermediary it had been

flagging the Policies on STOLI lists since December 2010 (at the latest) is one of the reasons why,

under Section 198(b) of the Restatement (Second) of Contracts, Columbus cannot void the Policies

and keep the $10.3 million in premiums. Columbus’ failure to disclose that it was treating the

Policies as STOLI—coupled with Columbus’ myriad verifications that the Policies were “in force”

(see SI Br. at 22)—prevented Viva from deciding for itself how to handle that Columbus had been

treating the Policies as STOLI for years before Viva bought the Policies.

               4.      Columbus’ Argument that It Did Not Know About STOLI Litigation
                       Until October 2018 Cannot Defeat Summary Judgment.

       Columbus’ defense that not a single person at the company knew Columbus could file

lawsuits seeking to invalidate policies for lack of insurable interest until October 2018 is inherently

unbelievable. (CL Opp. at 17–20.) Columbus would have this Court accept that far-fetched

argument, even though Columbus (1) learned about STOLI no later than 2005 when it began

focusing on the relationship between STOLI and non-recourse premium finance, (2) started

changing its life insurance applications to address STOLI in 2005, (3) began tracking potential


11
   Judge Johnston’s decision on Massachusetts statutory unfair or deceptive trade practices
conflicts with Judge Stark’s decision in Sol II, which permitted a Massachusetts statutory claim
for unfair or deceptive trade practices to go to trial. See Sun Life Assur. Co. of Can. v. U.S. Bank
Nat’l Ass’n, 2019 WL 2151695, at *2–4 (D. Del. May 17, 2019).

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STOLI policies internally in 2006, (4) started circulating written STOLI lists to senior executives

in 2010, and (5) had its employees conducting specific STOLI studies at the direct request of its

then-President J.J. Miller in 2012. (SI Br. at 14, 19–20; CL Opp. at 12–15.)

        As the Court has explained, “on a motion for summary judgment, if the factual context

renders the nonmoving party’s claim implausible … they must come forward with more persuasive

evidence to support their claim than would otherwise be necessary.” M.K. v. Prestige Acad.

Charter Sch., 470 F. Supp. 3d 417, 420 (D. Del. 2020) (quoting Matsushita Elec. Indus. Co. v.

Zenith Radio Co., 475 U.S. 574, 587 (1986)); see also id. at 424 (rejecting party’s “counter-

narrative” as having so “little plausibility” that it failed to create a “triable issue of material fact”).

Here, no rational jury would believe that a company so sophisticated about STOLI dating back to

2005 did not know that other carriers were bringing STOLI litigations before 2018. Securities

Intermediary is willing to accept, solely for purposes of argument, that Columbus’ 30(b)(6)

witnesses may not have known carriers could bring STOLI lawsuits until one of its employees

(Justin Payne) attended a Cozen presentation in October 2018. (SI Br. at 20–21; CL Opp. at 20.)

But for a jury to accept that the entire company—with directors and officers who owe fiduciary

duties to shareholders, as well as a team of in-house attorneys—did not know about STOLI

litigation until 2018 is a bridge too far. That is particularly true because Columbus is a member

of the American Council of Life Insurers (“ALCI”), and the ALCI has been reporting on STOLI

litigation since 2010 (if not earlier) and filed an amicus brief in Price Dawe. (Ex. 122).12

        That is why it is not “patently absurd” (CL Opp. at 18), for Securities Intermediary to



12
   See Florida Insurers and Agents Oppose Legislative Effort to Promote “STOLI,” an Illegal
Arrangement that Harms Seniors, ACLI News Release (Feb. 21, 2012), available at
https://www.acli.com/posting/nr12-015; ACLI Comments on Kramer Case, ACLI News Release
(Nov. 18, 2010), available at https://www.acli.com/posting/nr10-059.

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highlight that Columbus’ 30(b)(6) witnesses did not speak with any current or former employees

to prepare for depositions in which they testified, on behalf of Columbus, that nobody at the

company knew about STOLI litigation until 2018. What is “patently absurd” is Columbus’

suggestion that a reasonable jury could find that, as an institution, Columbus was asleep at the

wheel for over a decade while other carriers were bringing STOLI cases. In fact, Columbus is

only able to argue that nobody at Columbus knew about STOLI litigation before 2018 because it

failed to file these lawsuits while percipient witnesses were still with the company, purged emails

that predate January 2016, and decided not to educate its 30(b)(6) witnesses about facts that are

nearly 20 years old by conferring with former employees. (SI Br. at 17–18, 20–21.)

       That said, Columbus’ feigned ignorance about STOLI litigation is irrelevant because, even

if the Court were to accept it, it would not create a material issue of fact. See, e.g., Quantum

Loyalty Sys., Inc. v. TPG Rewards, 2011 WL 2015221, at *2 (D. Del. May 24, 2011) (“Irrelevant

or unnecessary factual disputes are immaterial and are insufficient to defeat a motion for summary

judgment.”) (citing Anderson v. Liberty Lobby Inc., 477 U.S. 242, 258 (1986)). As Judge Stark

made clear in Sol III, “[w]ith the release of Price Dawe, [the insurer] also knew (or should have

known) that it could invalidate STOLI policies even after the two-year incontestability period.”

Sol III, 2019 WL 8353393, at *4 (emphasis added). So even if the Court were to believe

Columbus’ argument that nobody at Columbus—none of its directors, officers, and/or in-house

lawyers—knew about STOLI litigation until October 2018, that would not be a reason to let

Columbus keep the premiums because Columbus should have known about STOLI litigation.

Indeed, if the Court were to accept Columbus’ argument, the Court would be rewarding corporate

negligence and encouraging corporations to purposefully avoid important legal developments

affecting their businesses so that they could claim ignorance of the law.



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issuance). (Id. at 95:11–23.) Simply put, because of Price Dawe, every Delaware policy—no

matter how clean it is—has some insurable interest risk. But that is not the same as saying that

                                                           these Policies that presented insurable

interest risk beyond the fact that they were issued subject to Delaware law.

       By misleadingly arguing that

                                                                                   (CL Opp. at 25,

41), Columbus is trying to distract the Court from how Columbus, unlike Viva, (1) knew the

insureds used non-recourse loans to pay premiums on the Policies in 2004; (2) knew the lender

was entitled to a portion of the death benefit at the Policies’ inception in 2004; (3) conducted an

insurable interest investigation into the Policies in 2005; and (4) started flagging the Policies on

STOLI lists at some point between 2006 and 2010. (SI Br. at 9–20.)



                            does not mean Columbus can keep the $10.3 million in premiums it

received on the Policies.

       D.      The Court Should Reject Columbus’ Fallback Argument that Columbus Can
               Keep Some of the Premiums, i.e., That Columbus is Entitled to a Partial
               Windfall.

       Columbus claims that, if the Court orders Columbus to return premiums on the Policies,

the premium refund should be limited to those premiums that Securities Intermediary paid on

behalf of Viva rather than all of the premiums that Columbus collected. (CL Opp. at 35–41.) None

of Columbus’ arguments withstand scrutiny.

       First, by arguing that Securities Intermediary has not cited a single case where a court has

agreed that a policy owner can recover premiums paid by a prior owner in a void ab initio policy’s

chain-of-title because “[t]here is none” (CL Opp. at 36), Columbus ignores Sol III. Judge Stark

ordered the carrier to return all of the premiums that it received on the Sol policy to the policy
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owner, as opposed to only those premium the policy owner had paid, because the policy owner

had acquired “all interest in the Policy, including the right to pursue the return of any premiums

that had already been paid on the Policy.” Sol III, 2019 WL 8353393, at *4 n.6.

       Second, admitting Viva bought “‘all right, title and interest’ in the Policies, ‘all rights

related to or deriving therefrom,’ and ‘all proceeds of any of the foregoing,’” Columbus claims

that Securities Intermediary has not shown that Viva understood it was buying the rights to

previously paid premiums. (CL Opp. at 36.) But the contractual language in the Bill of Sale

speaks for itself. (SI Br. at 43–44.) Regardless, as the Declaration of Jon Nelson makes clear,

Viva acquired all of the rights to recover premiums paid by the prior owners in the Policies’ chain-

of-title. (Declaration of Jon Nelson, dated June 22, 2022.)

       Third, Columbus contends that, in order to recover premiums paid by prior owners, Viva

would have to “prove that each prior owner up the commercial chain (i) purported to sell its alleged

premium refund rights to its buyer; and (ii) that each of the sellers of those alleged rights would

themselves be entitled to a refund.” (CL Opp. at 37.) But in making this argument, Columbus is

demanding that Viva make an evidentiary showing that no court applying Delaware law has ever

required. And tellingly, Columbus cites no authority.

       To date, courts applying Delaware law have split four ways on whether carriers must

disgorge some, or all, of the premiums on a void ab initio policy. The majority of courts have

simply ordered the carrier to refund all the premiums to the policy owner, without analyzing

whether that policy owner made every premium payment. See, e.g., Principal Life Ins. Co. v.

Lawrence Rucker 2007 Ins. Tr., 774 F. Supp. 2d 674, 682–83 (D. Del. 2011). At the opposite end

of the spectrum, some courts have limited the carrier’s premium reimbursement obligation to those

premiums paid by the final policy owner—emphasizing that the policy owner had neither sought



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nor proven a right to relief beyond that which it sought in its pleadings. See, e.g., Sun Life Assur.

Co. of Can. v. U.S. Bank Nat’l Ass’n, 2016 WL 3948059, at *2 (S.D. Fla. June 9, 2016) (“Malkin

II”).13 Judge Stark took a different tack and ordered the carrier in Sol III to return all of the

premiums to the final policy owner in the chain-of-title based on the policy owner’s acquisition of

“all interest in the Policy.” Sol III, 2019 WL 8353393, at *4 n.6. And Judge Johnston ordered the

carrier in De Bourbon/Frankel to return 100% of the premiums it had received, but required it to

pay those monies to the particular parties who made the premium payments.                        See De

Bourbon/Frankel, 2022 WL 179008, at *13–14.

        Tellingly, none of those courts have scrutinized whether predecessor policy owners in the

chain-of-title would themselves be able to prove an entitlement to a premium refund14 or examined

the contractual language pursuant to which prior owners in the chain of title relinquished their

rights in the policies (as Columbus argues that this Court should do here). Regardless, the record

in this case is clear that the Policies’ predecessor owners sold all their rights and interests in the

Policies, which necessarily encompasses the right to pursue a return of premiums from Columbus.

        In 2005, Ms. Cohen and Mr. Romano authorized the assignments of “all right, title and

interest in the certificate of beneficial interest of the Trust[s],” i.e., the Trusts that themselves were

the original owners of the Policies, to Columbus Circle. (See Ex. 29 ¶ 1; Ex. Q ¶ 1.) Columbus



13
  Columbus’ reliance on cases where courts have limited a policy owner’s premium refund to only
those premiums that the policy owner had paid (as opposed to requiring the carrier to return all of
the premiums it had received) is misplaced. (CL Opp. at 37–38.) None of those cases addressed
facts comparable to those present here and in Sol III where the policy owner purchased the right
to recover premiums paid by prior owners in the policy’s chain of title.
14
   That said, the fact that the Berck, Snyder, and Rucker policy owners were awarded automatic
premium refunds refutes Columbus’ argument that an “original wrongdoer[]” (i.e., a third-party
investor that was responsible for the insurable interest violation) cannot recover premiums. (CL
Opp. at 37.) In Berck, Snyder, and Rucker, the policy owner who received the premium
reimbursement was investor who supposedly responsible for the insurable interest violation.

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Circle then sold “all right, title, and interest” to each certificate of beneficial interest to Invest SLPS

LLC—an entity affiliated with ABC Viaticals. (Ex. 31 at Art. 1.1; Ex. 14 at 85:2–8.) ABC

Viaticals then transferred “all [of its] right, title and interest” in the Policies to the 70091V Life

Settlement Trust (for the Cohen Policy) and 70078V Life Settlement Trust (for the Romano

Policy). (Ex. 119 at Art. 2.01; Ex. 56; Ex. 59 at 000696; Ex. 120 at Art. 2.01; Ex. 57.)

        On November 17, 2006, ABC Viaticals was placed into receivership. (Ex. 89 at 2503–04,

2520.) The Court-appointed Receiver took “exclusive jurisdiction and possession of the assets,

monies, securities, choses in action, and properties, real and personal, tangible and intangible, of

whatever kind and description, wherever situated, of [ABC Viaticals and others] that are

attributable to funds provided to [ABC Viaticals and others] by an investor and/or any entities they

own or control.” (Id. at 2504 ¶ 1.) The Receiver held the Policies until the Court ordered the sale

of the Policies (as part of the assets of ABC Viaticals) to Settlement Group, Inc. See Order ¶ 30,

SEC v. ABC Viaticals, No. 3:06-CV-2136-P (N.D. Tex. Oct. 6, 2008) (Dkt. 179). Pursuant to the

Purchase and Sale Agreement in that transaction, the “Purchased Assets” included the Policies, as

well as “all rights of recourse or recovery against any third party, and all other claims, rights,

causes of action, remedies, powers and privileges, under, relating to or arising out of” the Policies.

(See Exhibit 1 to Order § 1.1(a)(v), ), Add. A at COH-J, Add. A at ROM-A (2), SEC v. ABC

Viaticals, No. 3:06-CV-2136-P (N.D. Tex. Oct. 6, 2008) (Dkt. 179-1).

        Settlement Group subsequently sold the portfolio containing the Policies to Orca LSI Trust,

including “all rights, title and interest in and to the Policy Portfolio,” for the benefit of a

Netherlands-based entity called Orca LSI B.V. (See Ex. 121; Exhibit B to Notice of Removal at

Art. 4.01, Christopher R. Erwin, as Tr. of the Orca LSI Tr. v. Fin. Life Servs., LLC, No. 8:09-cv-

01463 (C.D. Cal. Dec. 11, 2009) (Dkt. 1).) For the next seven years, various Orca trusts held the



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portfolio including the Policies until it was sold by Delta Lloyd to Viva in a UCC sale after Orca

defaulted on its financing. (See Ex. 110; see also Exs. 58–71.) And finally, as explained above,

Viva bought “all of its right, title and interest of every kind, nature and description, in and to the

Assets,” which assets included the Policies. (Ex. 110 at ¶ 1, Annex A.)

       Finally, the business realities of the tertiary market for life insurance underscore why

accepting Columbus’ argument that it should only have to return the premiums that Viva itself

paid would be bad public policy. As Cozen’s PowerPoint presentation produced by Columbus

makes clear, the cases where courts limited a carrier’s obligation to return premiums to only those

premiums paid by the final policy owner in the chain of title are “significant because of the

frequency of trading.” (Ex. 86 at 006331 (emphasis added).) In other words, as time passes, it

becomes more likely that a new investor will buy a policy in the tertiary market. If a carrier could

press the “reset” button on the premium refund calculation every time a policy traded on the tertiary

market, it would incentivize insurers to do exactly what the Berck court cautioned against 12 years

ago, i.e., “bring rescission suits as late as possible, as they continue to collect premiums at no

actual risk.” Berck, 719 F. Supp. 2d at 418–19.

       Courts have been ordering carriers to refund premiums on void policies for years precisely

to prevent insurers from obtaining windfalls. See, e.g., Sun Life Assurance Co. of Can. v. Wells

Fargo Bank N.A., 779 F. App’x 927, 929 (3d Cir. 2019) (affirming ruling that “permitting Sun

Life to keep Wells Fargo’s premium payments would be an unfair windfall”); Sun Life Assurance

Co. of Can. v. Conestoga Tr. Servs., LLC, 263 F. Supp. 3d 695, 704 (E.D. Tenn. 2017), aff’d, 717

F. App’x 600 (6th Cir. 2018) (holding that “[a]llowing Sun Life to retain the premiums would be

a windfall to the company”). If carriers only have to return premiums to the final policy owner in




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the chain of title, it would result in the very windfall that the premium refund rule is designed to

prevent given the frequency in which policies trade in the tertiary market.

       E.      Columbus’ Unfounded and Unsupported Accusation that Securities
               Intermediary Decided Not to Contest Policy Invalidity at the Start of this Case
               is 100% False.

       Columbus’ opposition is littered with false accusations that Securities Intermediary, Viva,

and their counsel devised a scheme at the outset of this case that they would concede policy validity

and then delay discovery in order to increase return-of-premium premium damages. (CL Opp. at

3 n.2, 43–44.) The Court should reject this conspiracy theory, which is not supported by a shred

of evidence.

       To this day, Securities Intermediary does not “concede” that the Policies are invalid. Quite

the contrary, based on facts that Securities Intermediary learned during discovery concerning the

KDI/Concordia Program—as well as the Delaware Supreme Court’s November 16, 2021 decision

in Lavastone Capital LLC v. Estate of Berland, 266 A.3d 964 (Del. 2021)15—Securities

Intermediary believes there are questions of material fact that preclude summary judgment on

policy validity. (SI Br. at 2, 3–8 ; SI Opp. at 1 n.3.) But Securities Intermediary also believes it

is irrational to spend millions of dollars at trial and on appeal fighting with Columbus over whether

the Policies had insurable interests at inception—wasting this Court’s time and resources in the

process—when it is undisputed that the $10.3 million in premiums at issue exceed the $10 million

in death benefits, without even accounting for pre-judgment interest.

       There is nothing “just, speedy, and inexpensive,” Fed. R. Civ. P. 1, about a complex, multi-


15
  The Court held that an insured’s use of a non-recourse loan, coupled with their intent to sell the
policy, does not render a policy invalid “so long as the use of nonrecourse funding did not allow
the insured or his or her trust to obtain the policy ‘without actually paying the premiums’ and the
insured or his or her trust procured the policy in good faith, for a lawful insurance purpose, and
not as a cover for a wagering contract.” Estate of Berland, 266 A.3d at 973.

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week jury trial and post-trial appeals on insurable interest when (1) the overwhelming majority of

courts applying Delaware law have ordered carriers to return premiums automatically if policies

are void ab initio (see SI Br. at 28–29) and (2) in light of the premiums at stake, Securities

Intermediary is better off financially if the Policies are declared invalid. The same is true even if

the Court were to limit Securities Intermediary’s premium recovery to the premiums that Viva

itself paid to Columbus Life, plus pre-judgment interest, where the approximate recovery would

be $6,220,816.21 on both Policies. (Declaration of Ryan Harrison, Cohen Dkt. 143; Romano Dkt.

145 at ¶ 7.)16 Much of the difference between the $10 million in death benefits and the $6.2 million

in premiums plus interest would be swallowed by costs associated with trial preparation, pre-trial

evidentiary motions, a jury trial, post-trial briefing, and appeals—coupled with the lost time-value

of money that would result from stretching out this case well into 2024.

       This is not “bad faith behavior” or “gamesmanship” (CL Opp. at 3 n.2; 44); this is an effort

to be efficient and economically rational. Columbus’ accusation that, in discovery, “Viva had no

intent to even try to argue that the Policies were valid and that Viva instead merely intended to

seek delay-after-delay to ratchet up its pre-judgment interest claim” (CL Opp. at 3 n.2) is

regrettable and nonsensical.17 The truth is that in planning for summary judgment motions, Viva

and Securities Intermediary did what any litigant would have done: it analyzed the record, assessed

how the facts concerning the KDI/Concordia Program squared with the Delaware Supreme Court’s

November 2021 decision in Estate of Berland—a case addressing the legality of non-recourse



16
   This is a rough calculation because it assumes a flat 5.75% interest rate from the date of each
premium payment. If the Court orders Columbus to return premiums and awards prejudgment
interest, the parties will have to run precise calculations depending on the date of payment.
17
  It is nonsensical because, among other things, the premiums at issue did not surpass the death
benefits until the end of discovery.


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premium finance—and concluded that it would be a better use of the parties’ and this Court’s

resources to focus on premiums than to fight over policy validity at trial and appeal. Columbus

cites no evidence to support its conspiracy theory because there is none.18

       F.      Securities Intermediary and Viva are Not Seeking a Windfall; They are
               Forcing Columbus to Sleep in the Bed that Columbus Made.

       Columbus’ argument that it is actually Viva—not Columbus—that is seeking a windfall by

asking the Court to award premium damages that are in excess of the Policies’ death benefits is

nothing short of the pot calling the kettle black. (CL Opp. at 40–41.) Securities Intermediary (on

behalf of Viva) is seeking a remedy in this case that is consistent with the majority rule in Delaware

and is a direct consequence of Columbus’ greed.

       Securities Intermediary did not ask Columbus to file lawsuits in which it asks this Court to

accept that it is fair for Columbus to void $10 million in death benefits on the Policies and yet keep

$10.3 million in premiums it received over the years (thereby asking this Court to enforce only

one side of contracts that Columbus believes are void). Securities Intermediary did not encourage

Columbus to pursue a litigation strategy that Columbus’ own Rule 30(b)(6) witness agreed is

“economically irrational” if the Court orders Columbus to refund premiums. (Ex. 85 at 60:19–

62:2, 154:2–155:8.) Columbus brought these cases voluntarily, gambling that this Court would

reject the majority rule of Delaware law concerning return of premiums and award Columbus a

full-blown litigation windfall. Columbus could have done the economically rational thing and

agreed to pay the $10 million under the Policies after receiving $10.3 million in premiums (never

mind the time value of money and the investment returns Columbus earned on those premiums).



18
  The idea that Securities Intermediary engaged in “delay-after-delay” is baseless for reasons that
Securities Intermediary has already addressed in prior correspondence with the Court. (Cohen
Dkt. 111; Romano Dkt. 113.)

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Instead, Columbus bet that this Court would grant Columbus a massive “heads I win, tails you

lose” windfall by invalidating the Policies and letting Columbus keep the premiums.

       Having made its bed, Columbus must now lie in it. Securities Intermediary is not arguing

with “audacity … that Viva should get $6 million more than the aggregate death benefit.” (CL

Opp. at 41.) The fact that Viva’s recovery on return of premiums exceeds its recovery if the

Policies are declared valid is a consequence of Columbus’ economically irrational decision to file

lawsuits seeking to invalidate policies where the premiums exceed the death benefits. If the Court

follows the majority rule on return of premiums under Delaware law and orders Columbus to

disgorge the $10.3 million in premiums that it collected on the Policies, then perhaps Columbus

will think twice next time before it files a lawsuit forcing one of its customers to expend money in

litigation explaining to a court why, regardless of the applicable return-of-premiums test, it is

inherently unfair for Columbus to void $10 million in death benefits and simultaneously keep

$10.3 million in premiums.19

III.   CONCLUSION

       The Court should grant Securities Intermediary’s motion for summary judgment. That

said, because the Delaware Supreme Court currently has two cases on it docket—Seck and De

Bourbon/Frankel—that concern the return-of-premiums issues presented on these motions for

summary judgment, Securities Intermediary believes that this Court should wait to adjudicate these

motions until both cases are decided and the parties have an opportunity to brief the implications

of decisions in those cases.


19
   Columbus argues that Securities Intermediary is not entitled to pre-judgment interest (CL Opp.
at 41–44), without once acknowledging the Eleventh Circuit’s decision in Malkin III which
ordered a carrier in a STOLI case to return premiums plus prejudgment interest as of the date of
each premium payment as a matter of well-settled Delaware law. See Sun Life Assur. Co. of Can.
v. U.S. Bank Nat’l Ass’n, 693 F. App’x 838, 841 (11th Cir. June 12, 2017).

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